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13
                           UNITED STATES DISTRICT COURT
14
                          EASTERN DISTRICT OF CALIFORNIA
15
                                 SACRAMENTO DIVISION
16

17
     X CORP.,                              No. 2:23-cv-01939-WBS-AC
18
                    Plaintiff,
19
           v.                              STIPULATION TO CONTINUE THE
20                                         STATUS CONFERENCE AND FOR AN
     ROBERT A. BONTA, Attorney             EXTENSION OF TIME TO FILE A
21   General of California, in his         JOINT STATUS REPORT
     official capacity,
22                                         Judge: Hon. William B. Shubb
                    Defendant.             Trial Date: None set
23                                         Action Filed: September 8, 2023
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     STIPULATION TO CONTINUE THE             1
     STATUS CONFERENCE AND FOR AN
     EXTENSION OF TIME TO FILE A
     JOINT STATUS REPORT
     Case 2:23-cv-01939-WBS-AC Document 35 Filed 12/26/23 Page 2 of 4


 1        In accordance with Local Rule 144, Plaintiff X Corp. and

 2   Defendant Attorney General Robert Bonta, in his official capacity,

 3   (collectively referred to herein as “Parties”) hereby stipulate,
 4   subject to the Court’s approval, to extend the schedule for the

 5   Status (Pretrial Scheduling) Conference and Joint Status Report

 6   (from that set forth under ECF No. 3) as follows:

 7        WHEREAS, on September 8, 2023, the Court issued an Order
 8   Regarding Status (Pretrial Scheduling) Conference, which set a

 9   Status Conference for January 16, 2024 and requires the Parties to

10   file a Joint Status Report on or before January 2, 2024.
11        WHEREAS, X Corp. filed a motion for a preliminary injunction

12   on October 6, 2023, that has been fully briefed and argued, and

13   remains pending before this Court.

14        WHEREAS,     on   September   28,   2023,    this     Court   extended
15   Defendant’s time to respond to the Complaint as follows:

16        (a) if any party appeals this Court’s order on X Corp.’s

17   motion for preliminary injunction, 21 days after the Ninth Circuit
18   issues its mandate in the appeal;

19        (b) if no party appeals, 21 days after the expiration of the

20   time period designated to file such an appeal.           See Dkt. No. 15.

21        WHEREAS, the Parties respectfully submit that it makes sense
22   to obtain a ruling on Plaintiff’s motion for preliminary injunction

23   prior to completing the Joint Status Report and Status Conference,

24   as the Court’s ruling may affect several matters that are the

25   subject of such report and may result in an appeal that would
26   impact the timing of discovery deadlines and pre-trial and trial

27   proceedings in this action.

28         WHEREFORE, the Parties stipulate, and respectfully request,
     STIPULATION TO CONTINUE THE      2
     STATUS CONFERENCE AND FOR AN
     EXTENSION OF TIME TO FILE A
     JOINT STATUS REPORT
     Case 2:23-cv-01939-WBS-AC Document 35 Filed 12/26/23 Page 3 of 4


 1   that the Status Conference be continued to a later date of the

 2   Court’s choosing, at least 30 days after the date Court anticipates

 3   issuing   its   ruling   on    the   motion   for   preliminary   injunction.
 4   Furthermore, the Parties stipulate, and respectfully request, that

 5   the deadline to file the Joint Status Report be extended to fourteen

 6   calendar days prior to the continued Status Conference.

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     DATED: December 26, 2023
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10                                  Respectfully submitted,
11                                  /s/ Joel Kurtzberg
                                    CAHILL GORDON & REINDEL LLP
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25                                  ROBERT BONTA, ATTORNEY GENERAL OF
                                    CALIFORNIA
26                                  Anthony R. Hakl
                                    Supervising Deputy Attorney General
27                                  Anna Ferrari
                                    Deputy Attorney General
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     STIPULATION TO CONTINUE THE             3
     STATUS CONFERENCE AND FOR AN
     EXTENSION OF TIME TO FILE A
     JOINT STATUS REPORT
     Case 2:23-cv-01939-WBS-AC Document 35 Filed 12/26/23 Page 4 of 4


 1
                                    /s/ Gabrielle D. Boutin
 2                                  Gabrielle D. Boutin
                                    Deputy Attorney General
 3
 4                                  Attorneys for Defendant
                                    Attorney General Robert Bonta,
 5                                  in his official capacity

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     STIPULATION TO CONTINUE THE           4
     STATUS CONFERENCE AND FOR AN
     EXTENSION OF TIME TO FILE A
     JOINT STATUS REPORT
